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                        UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                  CRIMINAL ACTION


v.                                                        NO. 20-55


JASON WILLIAMS AND NICOLE BURDETT                         SECTION “F”



                                    ORDER


      Before the Court is a request for expedited hearing on a

motion to compel filed by Jason Williams and Nicole Burdett.              Mr.

Williams    and   Ms.    Burdett   request   that   the   Court   expedite

consideration of their motion to compel to as soon as October 21,

2020.    For the reasons that follow, the request for expedited

consideration is DENIED.

      On October 8, 2020, the Court denied without prejudice the

defendants’ motion to dismiss the indictment, but the Court granted

the defendants’ request for a limited evidentiary hearing in aid

of their claims of selective and vindictive prosecution.                  The

evidentiary hearing is scheduled for Thursday, October 22, 2020,

at 1:30 p.m.      On October 16, 2020, Mr. Williams and Ms. Burdett

filed a motion to compel in which they seek an order compelling

the government to produce Henry Timothy’s grand jury testimony


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along with any instructions or colloquy in which the grand jury

was    informed     about    Timothy’s       inconsistent     statements;   the

defendants contend that this material is favorable to the defense

and, therefore, the government is constitutionally obliged to

disclose it consistent with Brady v. Maryland, 373 U.S. 83, 87

(1963), Giglio v. United States, 405 U.S. 150 (1972), and their

progeny.     Given the timing of the motion to compel, the Court’s

Local Rules required that the motion be set for the Court’s next

available hearing date, November 18, 2020.                  The defendants now

request expedited consideration of their motion to compel so that,

if the motion to compel is granted, the defendants will have access

to the requested materials in advance of the evidentiary hearing

presently set for October 22, 2020 at 1:30 p.m.                 The defendants

submit that the requested materials are Brady and Giglio material

that should be disclosed immediately or, at the latest, well in

advance of the January trial.

       Before filing the motion to compel, the defendants informally

requested that the government produce the Timothy grand jury

testimony     and   any     instructions      or   colloquy     regarding   his

inconsistent statements.         But “[a]s of September 8, 2020,” the

defendants submit, “the government represented that it ha[d] not

received the transcript of Mr. Timothy’s grand jury testimony, and

that it will only be provided [to defense counsel] as Jencks

material the week prior to trial.”            The defendants alluded to the

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government’s position and this dispute in their papers supporting

their motion to dismiss, but the issue of whether this material

must be disclosed (and, if so, when) was not squarely presented to

the Court, which declined to resolve a dispute that was mentioned

but not fully briefed.      See Order and Reasons dtd. 10/8/20, p. 46-

47 n.31. 1

       Now, by moving to compel disclosure, the defendants directly

present      for   resolution   whether   the   government    is    wrongfully

withholding Brady material. 2       A troubling suggestion, to be sure,

particularly in the context of the defendants’ claims for selective

and   vindictive     prosecution.     With   only   three    days   until   the

evidentiary hearing, however, the Court has little time to order

the government to respond to the 17-page motion or to consider the

government’s position -- and perhaps view the requested materials

in camera, if the government indeed maintains its position that

the materials reasonably cannot be considered “favorable” to Mr.

Williams and Ms. Burdett -- let alone issue its ruling on the

defendants’ motion to compel.



1 To be sure, the Court expects (and the Constitution mandates)
the government to comply with its Brady obligations without
prompting from defense counsel or the Court. It is the Court’s
experience that, oftentimes, in an abundance of caution, the
government will submit to the Court for in camera review any
material that the government withholds from the defense but
otherwise might reasonably be considered Brady material.
2 Whether and when the requested materials must be disclosed is at

issue in the motion to compel.
                                      3
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       Accordingly, IT IS ORDERED: that the defendants’ motion to

expedite the hearing on their motion to compel is DENIED.                 IT IS

FURTHER ORDERED: that, if the government opposes the motion to

compel,   it   shall   submit   its    opposition   papers   no   later    than

Tuesday, October 27, 2020; if the government does not oppose the

motion to compel, it shall immediately so advise the Court and

shall, within three days, turn over to the defendants the requested

materials.     IT IS FURTHER ORDERED: that any reply papers must be

filed by November 6, 2020.            Finally, if the defendants believe

that   the   staggered   nature   of    the   hearings   will   impair    their

presentation at the upcoming evidentiary hearing, the Court will

consider a request for a brief continuance of the evidentiary

hearing. 3

                         New Orleans, Louisiana, October __, 2020


                                      ______________________________
                                           MARTIN L. C. FELDMAN
                                       UNITED STATES DISTRICT JUDGE




3 In the motion for expedited hearing, the defendants argue that
not having the requested materials well in advance of trial impacts
their ability to effectively prepare for the January trial and
that being deprived of these materials impairs their ability to
adequately present their selective and vindictive prosecution
challenge. However, the defendants stop short of suggesting that
the evidentiary hearing should not proceed until the Court resolves
the motion to compel. Nevertheless, if this is so, the Court will
entertain a request to continue the evidentiary hearing.
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